
ORDER
Considering the “Joint Motion and Consent to Transfer Venue to Calcasieu Parish” filed by plaintiffs, Necile Cockrell and William Cockrell, and defendant, Grand Palais Riverboat, Inc.,
IT IS ORDERED that the joint motion be and hereby is granted. This court’s order of June 3, 2005 granting the writ application filed by Grand Palais Riverboat, Inc. is hereby recalled and the case is transferred to the 14th Judicial District Court for the Parish of Calcasieu, State of Louisiana, at plaintiffs’ costs.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
